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11

12                                  UNITED STATES DISTRICT COURT
13                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
14                                           SAN JOSE DIVISION
15   GEORGE JACK, individually and on behalf of all         Case No. 5:18-cv-06652
     others similarly situated,
16                                                          CLASS ACTION COMPLAINT
            Plaintiff,
17                                                          JURY TRIAL DEMANDED
     v.
18
     GOOGLE INC.,
19
            Defendant.
20

21          Plaintiff George Jack (“Plaintiff”), by and through his attorneys, make the following
22   allegations pursuant to the investigation of his counsel and based upon information and belief, except
23   as to allegations specifically pertaining to himself, which are based on personal knowledge, against
24   defendant Google Inc. (“Google” or “Defendant”).
25                                       NATURE OF THE ACTION
26          1.       This is a class action concerning Google’s unlawful and deceptive practice of tracking
27   and storing time-stamped location data from millions of mobile phone users who affirmatively opt-out
28   of the tracking.
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 1          2.       Google is a multinational technology company that specializes in Internet-related

 2   services and products, including search engines, cloud computing, software, and hardware.

 3          3.       Google represented to the public and its users that it would not access users’ location

 4   history if the users took certain steps in managing their privacy settings. Specifically, Google

 5   represented that if users disable the “Location History” feature on their accounts or devices, then

 6   Google would be prevented from tracking and storing location data from them. Google’s support

 7   page, which is attached hereto as Exhibit A, stated: “You can turn off Location History at any time.

 8   With Location History off, the places you go are no longer stored.”

 9          4.       Google’s representation was false, however. As revealed in a recent Associated Press

10   investigation, and confirmed by computer-science researchers at Princeton University, Google

11   accesses and stores the precise geolocation information even from individuals who have affirmatively

12   disabled the Location History setting.1

13          5.       For example, even with the Location History feature disabled, Google apps will still

14   automatically store time-stamped location data without obtaining consent from the user. The AP

15   Report revealed that “Google stores a snapshot of where you are when you merely open its Maps app.

16   Automatic daily weather updates on Android phones pinpoint roughly where you are. And some

17   searches that have nothing to do with location, like ‘chocolate chip cookies,’ or ‘kids science kits,’

18   pinpoint your precise latitude and longitude—accurate to the square foot—and save it to your Google

19   account.”2
20          6.       Location data is highly sensitive, not only because the data point identifies where an

21   individual is at any given time, but also because of the personal information that can be extracted from

22   the location data. Therefore, the efforts of individuals who are conscious of their privacy and wish to

23   avoid the collection and storage of sensitive location data should be respected and protected.

24   However, Google collects the data against the express preferences and expectations of its users,

25   thereby invading users’ reasonable expectations of privacy.

26
27   1
       Ryan Nakashima, AP Exclusive: Google tracks your movements, like it or not, AP News (Aug. 13,
     2018), https://www.apnews.com/828aefab64d4411bac257a07c1af0ecb) (hereafter, “AP Report”).
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     2
       Id.
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 1          7.       Google uses the location information it unlawfully obtains from users for marketing

 2   and advertising purposes, and generates enormous revenues from it. For example, user-generated data

 3   provides information useful to advertisers such as foot traffic metrics. Peter Lenz, the senior

 4   geospatial analyst at Dstillery, a rival advertising technology company, stated, “[t]hey build

 5   advertising information out of data” and that “more data for them presumably means more profit.”3

 6   Last year Google earned $95.4 billion from location-related advertising.4 Accordingly, Google is

 7   profiting off of intruding into Plaintiff’s and Class members’ solitude, seclusion, and private affairs.

 8          8.       Google’s practice of tracking users’ location, in direct contravention of user

 9   instructions clearly expressed by turning off the Location History feature, violates the California

10   Invasion of Privacy Act, Cal. Pen. Code §§ 630, et seq. (“CIPA”); New York General Business Law,

11   N.Y. Gen. Bus. Law §§ 349 et seq.; and constitutes intentional and negligent misrepresentation.

12                                                   PARTIES
13          9.       Plaintiff George Jack is a citizen of the state of New York, residing in the Bronx. Since

14   September 2017, Plaintiff has owned and used an Apple iPhone 7 that has various Google apps and

15   functionalities downloaded onto the phone. Before acquiring the iPhone 7, Plaintiff owned and

16   operated an iPhone 6. Plaintiff expressly attempted to limit Google’s ability to track his location by

17   managing his Location History settings on Google’s website. He affirmatively turned the Location

18   History storage option to “off.” Mr. Jack believed that by affirmatively turning the Location History

19   storage option to “off,” he was opting out of Google’s practices of collecting and processing
20   information about his actual location. Nevertheless, and unbeknownst to Plaintiff, Google continued to

21   track and store his location information.

22          10.      Defendant Google, Inc. is a United States corporation incorporated under the laws of

23   Delaware with its headquarters in Mountain View, California.

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     3
      Id.
27   4
      Cal Jeffrey, Turning Off ‘Location History’ does not prevent Google from tracking you, Techspot
28   (Aug. 13, 2018), https://www.techspot.com/news/75942-turning-off-location-history-does-not-
     prevent-google.html.
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 1                                       JURISDICTION AND VENUE
 2          11.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

 3   §§ 1332 and 1367 because this is a class action in which the matter or controversy exceeds the sum of

 4   $5,000,000, exclusive of interest and costs, and in which some members of the proposed Class are

 5   citizens of a state different from defendant.

 6          12.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendant is

 7   headquartered in this District.

 8                                     INTRADISTRICT ASSIGNMENT
 9          13.     Pursuant to Civil L.R. 3-2(c), this civil action should be assigned to the San Jose

10   Division, because a substantial part of the events or omissions giving rise to the claims occurred in the

11   county of Santa Clara, where Google is headquartered.

12          14.     Moreover, Google’s “Terms of Service,” available on Google’s website, contains the

13   following forum selection provision:

14          All claims arising out of or relating to these terms or the Services will be litigated
            exclusively in the federal or state courts of Santa Clara County, California, USA, and
15          you and Google consent to personal jurisdiction in those courts. 5
16                                        FACTUAL ALLEGATIONS
17   A.     Google Tracks Its Users’ Location Even When Users Affirmatively Disable the Location
18          History Feature

19          15.     An operating system (“OS”) is software that allows a user to run other applications on a
20   computing device, such as a mobile phone. A majority of mobile phones run on one of two operating

21   systems: Android or iOS. Android was developed by Google and iOS was developed by Apple.

22          16.     In addition to developing the Android operating system, Google also develops apps that

23   can be downloaded on Android and iOS devices.

24          17.     On each operating system, users can manage the functionalities of their devices and

25   apps by customizing their preferences.

26          18.     Included among these preferences is the option to turn on or off Location History which
27
     5
28    Google.com, Terms of Service, https://policies.google.com/terms?hl=en&gl=US (last visited Oct. 15,
     2018).
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 1   is an individual’s precise location information as determined through the phone’s GPS coordinates.

 2          19.       Google represented to users of its devices and apps that by turning the Location History

 3   feature off, Google would not track and store data relating to an individual’s location. Android phone

 4   users can manage the Location History preference from their devices, while iPhone users are required

 5   to log into their online Google accounts to do so.

 6          20.       Specifically, Google’s support webpage on the subject stated:

 7          You can turn off Location History at any time. With Location History off, the places you
            go are no longer stored. When you turn off Location History for your Google Account,
 8          it’s off for all devices associated with that Google Account.
 9   See Exhibit A.

10          21.       Accordingly, Google represented to both Android and Apple device users that turning

11   the Location History feature off would result in Google ceasing to track and store an individual’s

12   location information.

13          22.       However, Google’s representations were false. As recently publicly revealed in the AP

14   Report, turning off Location History only stopped Google from creating a location timeline that the

15   user could view. Instead, Google continued to track phone owners and keep a record of their

16   locations.

17          23.       To demonstrate how powerful and invasive the tracking and storing of location data can

18   be, the AP created a map of the movements of Princeton postdoctoral researcher Gunes Acar, who had

19   the Location History feature on his cell phone turned off. The map identified where he travelled over
20   three days, including, but not limited to, his train commute on two trips to New York, visits to The

21   High Line park, Chelsea Market, Hell’s Kitchen, Central Park, and Harlem.6

22          24.       By tracking Plaintiff’s and Class members’ locations despite having affirmatively

23   turned the Location History storage option off, Defendant intruded on and into Plaintiff’s and Class

24   members’ solitude, seclusion, or private affairs. Google’s conduct is contrary to users’ reasonable

25   expectations of privacy. As Princeton computer scientist and former chief technologist for the Federal

26   Communications Commission’s enforcement bureau, Jonathan Mayer, stated: “If you’re going to
27

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     6
       Associate Press Interactive, ‘Location history’ Off? Google’s still tracking you, https://interactives
     .ap.org/google-location-tracking/ (last accessed Oct. 15, 2018).
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 1   allow users to turn off something called ‘Location History,’ then all the places where you maintain

 2   location history should be turned off. . . . That seems like a pretty straightforward position to have.”7

 3   B.       Contrary to Google’s Representations, Preventing the Collection and Storage of Location
              Information Is Actually a Complex, Counter-Intuitive Process
 4

 5            25.    To prevent Google from collecting and storing a user’s location data, users must turn

 6   off Location History, in addition to disabling a setting called Web & App Activity.

 7            26.    However, the Web & App Activity setting is deeply buried in Google’s settings, and in

 8   order to find it, users must first sign into their Google accounts either on a browser or through the

 9   Android settings menu. In the browser, users can access the Web & App Activity account settings by

10   finding “Google Account” in the dropdown menu in the upper right-hand corner, then selecting

11   “Personal Info & Privacy,” choosing “Manage your Google Activity,” then clicking “Go to Activity

12   Controls.” Once there, the Web & App Activity setting is revealed, which can then be toggled off.

13            27.    However, even if users navigate through their settings to find the Web & App Activity

14   setting, Google obfuscates the fact that the Web & App Activity setting is even related to location

15   collection data. The setting resides directly above, and separate from, the Location History option,

16   causing reasonable users to conclude that Web & App Activity is not related to location tracking.

17            28.    Further, Google’s description of Web & App Activity is that it “[s]aves your activity on

18   Google sites and apps to give you faster searches, better recommendations, and more personalized

19   experiences in Maps, Search, and other Google services.”8 This description does not provide
20   reasonable notice that it relates to location tracking.

21            29.    To obtain additional information about the function of the Web & App Activity feature,

22   a user must click “[l]earn more,” then scroll to “[w]hat’s saved as Web & App Activity,” and click on

23   “[i]nfo about your searches & more” before Google even mentions location tracking.9 This is

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     7
         See AP Report.
26   8
      Google.com, Activity Controls, https://myaccount.google.com/intro/activitycontrols (last visited
27   Oct. 15, 2018).
     9
28    Google.com, Search Help, https://support.google.com/websearch/answer/54068?p=web_app_activity
     &hl=en&visit_id=636749651614250929-987972148&rd=1 (last visited Oct. 15, 2018).
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 1   insufficient notice of the collection and storage of location information.

 2              30.    Leaving Web & App Activity on and turning Location History off does not stop

 3   Google’s collection of certain location markers.

 4              31.    Google fails to make clear to users that in order to stop Google from saving their

 5   location markers, in addition to turning Location History off, they must also turn off the Web & App

 6   Activity setting.

 7   C.         Google’s Response to the AP Report Confirms Its Unlawful and Deceptive Acts and
                Practices
 8

 9              32.    In its response to the AP Report, Google first defended its actions, stating: “We provide

10   clear descriptions of these tools.”10

11              33.    Then, three days after the AP revealed that several Google apps and websites store user

12   location even if users have turned off Location History, Google announced that it was “updating the

13   explanatory language about Location History to make it more consistent and clear across our platforms

14   and help centers.”11 This statement contradicts a prior statement Google sent to the AP in which it

15   claimed that the descriptions for opting out of Location History were clear.

16              34.    The revised description on its website acknowledges that Location History continues to

17   track users even if they have disabled the setting. Specifically, Google revised the description, which

18   originally stated, “[w]ith Location History off, the places you go are no longer stored,” to read “This

19   setting does not affect other location services on your device.”12 Google also acknowledged that
20   “some location data may be saved as part of your activity on other services, like Search and Maps.”13

21              35.    Accordingly, Google acknowledged, for the first time, that it continues to track users

22   even if they disable the Location History setting.14

23

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     10
          AP Report.
25   11
       Ryan Nakashim, APNewsBreak: Google clarifies location-tracking policy, AP News (Aug. 16,
26   2018), https://apnews.com/ef95c6a91eeb4d8e9dda9cad887bf211.
     12
          Id.
27
     13
          Id.
28   14
          Nakashim, supra.
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 1          36.      Rather than ending the practice, however, Google simply revised its website so that it

 2   could continue to track those users who had previously affirmatively opted out of the tracking.

 3                                           CLASS ALLEGATIONS
 4          37.      Plaintiff brings this action on behalf of himself and the members of the proposed Class

 5   under Rule 23(a), (b)(2), (b)(3), and/or (c)(4) of the Federal Rules of Civil Procedure. The proposed

 6   Class consists of the following:

 7                   All natural persons residing in the United States who own one or more

 8                   Android or Apple mobile phones, who turned off Location History, and

 9                   whose location information was nonetheless recorded and used by Google

10                   (the “Class”).

11          38.      The Class contains the following Subclass:

12                   All natural persons residing in the state of New York who own Android or

13                   Apple mobile phones, who turned off Location History, and whose location

14                   information was nonetheless recorded and used by Google (the “New York

15                   Subclass”).

16          39.      Plaintiff reserves the right to redefine the Class before certification and after having the

17   opportunity to conduct discovery.

18          40.      Excluded from the Class are Defendant, its parents, subsidiaries, affiliates, officers and

19   directors, any entity in which Defendant has a controlling interest, and all judges assigned to hear any
20   aspect of this litigation, as well as their immediate family members.

21          41.      Numerosity. Fed. R. Civ. P. 23(a)(1). The members of the Class are so numerous that

22   joinder is impractical. The Class consists of millions of members, the precise number which is within

23   the knowledge of and can be ascertained only by resort to Defendant’s records.

24          42.      Commonality. Fed. R. Civ. P. 23(a)(2) and (b)(3). There are numerous questions of

25   law and fact common to the Class, which predominate over any questions affecting only individual

26   members of the Class. Among the questions of law and fact common to the Class are:
27                a. Whether Defendant’s acts and practices complained of herein violated the CIPA, Cal.
                     Pen. Code §§ 630, et seq.;
28
                  b. Whether Defendant’s acts and practices complained of herein violated the New York
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 1                    General Business Law, N.Y. Gen. Bus. Law §§ 349, et seq.;

 2                 c. Whether Defendant misrepresented or omitted one or more material facts to Plaintiff
                      and the Class; and
 3
                   d. Whether Defendant’s conducted violated the other provisions of statutory and common
 4                    law outlined in this complaint;
 5           43.      Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiff’s claims are typical of the claims of the
 6   Class in that Plaintiff, like all Class members, took efforts to prevent his phone’s location history from
 7   being recorded and used by Google, yet despite these efforts and contrary to Google’s representations,
 8   nonetheless had said location history recorded and used by Google.
 9           44.      Adequacy. Fed. R. Civ. P. 23(a)(4). Plaintiff is a representative who will fairly and
10   adequately assert and protect the interests of the Class and retained counsel experienced in prosecuting
11   class actions. Accordingly, Plaintiff is an adequate representative and will fairly and adequately
12   protect the interests of the Class.
13           45.      Superiority of Class Action. Fed. R. Civ. P. 23(b)(3). A class action is superior to all
14   other available methods for the fair and efficient adjudication of this lawsuit, because individual
15   litigation of the claims of all members of the Class is economically unfeasible and procedurally
16   impracticable. While the aggregate damages sustained by the Class are in the millions of dollars, the
17   individual damages incurred by each member of the Class resulting from Defendant’s wrongful
18   conduct are too small to warrant the expense of individual lawsuits. The likelihood of individual Class
19   members prosecuting their own separate claims is remote, and even if every member of the Class
20   could afford individual litigation, the court system would be unduly burdened by individual litigation
21   of such cases.
22           46.      The prosecution of separate actions by members of the Class would create a risk of
23   establishing inconsistent rulings and/or incompatible standards of conduct for Defendant.
24   Additionally, individual actions may be dispositive of the interests of the Class, although certain Class
25   members are not parties to such actions.
26           47.      Injunctive and Declaratory Relief. Fed. R. Civ. P. 23(b)(2). The conduct of Defendant
27   is generally applicable to the Class as a whole and Plaintiff seeks equitable remedies with respect to
28   the Class as a whole. Like all Class members, Plaintiff suffers a substantial risk of repeated injury in
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 1   the future. Like all Class members, although Plaintiff wishes to control the circumstances under which

 2   his location information can be collected and used by Google, Google has shown deliberate

 3   indifference to those wishes and has indeed taken pains to deceive Plaintiff (and all Class members)

 4   and to thwart those wishes. As such, the systematic policies and practices of Defendant make

 5   declaratory or equitable relief with respect to the Class as a whole appropriate. Plaintiff and all Class

 6   members face substantial risk of the same injury in the future. Google’s conduct is common to all

 7   Class members and represents a common thread of conduct resulting in injury to all members of the

 8   Class.

 9                                           CAUSES OF ACTIONS
10                                                   COUNT I
11                               Violations of CIPA, Cal. Pen. Code §§ 630, et seq.
12            48.    Plaintiff incorporates and realleges by reference each and every allegation above as if

13   set forth herein in full.

14            49.    Cal. Pen. Code § 630, known as the California Invasion of Privacy Act (“CIPA”)

15   provides that “[t]he Legislature hereby declares that advances in science and technology have led to

16   the development of new devices and techniques for the purpose of eavesdropping upon private

17   communication and that the invasion of privacy resulting from the continual and increasing use of

18   such devices and techniques has created a serious threat to the free exercise of personal liberties and

19   cannot be tolerated in a free and civilized society.”
20            50.    Google’s acts and practices complained of herein, engaged in for purposes of acquiring

21   and using the geolocation of mobile phone users, without their consent, and in direct contravention of

22   the representations made about turning off the location history function, violate Cal. Pen. Code

23   § 637.7.

24            51.    Cal. Pen. Code § 637.7 prohibits the use of an electronic tracking device to determine

25   the location or movement of a person.

26            52.    In direct violation of this prohibition and without the consent of Plaintiff or Class
27   members, and in direct contravention of those individuals’ clearly-expressed wishes—Google intended

28   to and continued to record, store, and use the location information of Plaintiff and Class members after

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 1   they disabled the Location History feature on their phones.

 2             53.   As described herein, Google utilized multiple devices that are “electronic tracking

 3   devices” under Cal. Pen. Code § 637.7(d), in that Google employs and embeds a host of technology—

 4   including but not limited to apps, firmware, device components, operating system software, and other

 5   code—on each Class member’s phone (a “movable thing” under the statute), and this technology

 6   “reveals its location or movement by the transmission of electronic signals.”

 7             54.   Defendant’s acts in violation of the CIPA occurred in the State of California because

 8   those acts resulted from business decisions, practices, and operating policies that Google developed,

 9   implemented, and utilized in the State of California and which are unlawful and constitute criminal

10   conduct in the state of Google’s principal business operations.

11             55.   As a result of Google’s violations of Cal. Pen. Code § 637.7, and pursuant to Cal. Pen.

12   Code § 637.2, Plaintiff and Class members are entitled to the following relief:

13                   a.     A declaration that Google’s conduct violates the CIPA;

14                   b.     Statutory damages and/or trebled actual damages;

15                   c.     Injunctive relief in the form of, inter alia, an order enjoining Google from

16   geolocating Class members in violation of CIPA;

17                   d.     Injunctive relief in the form of, inter alia, an order requiring Google to destroy

18   all data created or otherwise obtained from its illegal geolocation of Class members; and

19                   e.     An award of attorney’s fees and costs of litigation as provided by the CIPA, the
20   private attorney general doctrine existing at common law and also codified at California Civil Code

21   § 1021.5, and all other applicable laws.

22                                                  COUNT II
23         Violations of the New York General Business Law, N.Y. Gen. Bus. Law §§ 349, et seq.
24             56.   Plaintiff, individually and on behalf of the New York Subclass, incorporates and

25   realleges by reference each and every allegation above as if set forth herein in full.

26             57.   Google engaged in deceptive acts or practices in the conduct of its business, trade, and
27   commerce or furnishing of goods or services, in violation of N.Y. Gen. Bus. Law § 349, as described

28   herein.

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 1           58.     Google’s representations and omissions were material because they were likely to

 2   deceive reasonable consumers into believing their location information would not be tracked and

 3   stored if they disabled the Location History feature.

 4           59.     Google acted intentionally, knowingly, and maliciously to violate New York’s General

 5   Business Law, and recklessly disregarded Plaintiff and the New York Subclass members’ rights.

 6           60.     As a direct and proximate result of Google’s unfair, deceptive, and unconscionable

 7   trade practices, Plaintiff and the New York Subclass members have suffered and will continue to

 8   suffer injury, ascertainable losses of money or property, and monetary and nonmonetary damages,

 9   including from not receiving the benefit of their bargain in using Google’s services and keeping their

10   data private.

11           61.     Google’s deceptive and unlawful acts and practices complained of herein affected the

12   public interest and consumers at large, including the millions of New Yorkers who use Google’s

13   services and devices.

14           62.     Plaintiff’s and the New York Subclass members’ location data has tangible value.

15   Their location data is in the possession of Google, which has used and will continue to use such data

16   for its own advantage, including financial advantage.

17           63.     Plaintiff’s and the New York Subclass members’ personal location data was exploited

18   without consent. Accordingly, Plaintiff and the New York Subclass members are entitled to part of

19   Google’s profits that were generated by their personal location data without informed consent.
20           64.     Plaintiff and New York Subclass members seek all monetary and non-monetary relief

21   allowed by law, including actual damages or statutory damages of $50 (whichever is greater), treble

22   damages, injunctive relief, and attorneys’ fees and costs

23                                                 COUNT III
24                                       Intentional Misrepresentation
25           65.     Plaintiff incorporates and realleges by reference each and every allegation above as if

26   set forth herein in full.
27           66.     Defendant and its agents, employees, and/or subsidiaries made materially false

28   representations to Plaintiff and the Class that their operating system and apps did not secretly collect

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 1   information against users’ explicit wishes.

 2           67.     These material misrepresentations were contained in public statements by Defendant,

 3   including in its Terms of Service.

 4           68.     Defendant knew or recklessly disregarded the false and misleading nature of their

 5   material misrepresentations.

 6           69.     Defendant made the materially false and misleading statements for the purpose of

 7   inducing Plaintiff and the other members of the Class to install and use its operating system and apps.

 8           70.     In purchasing and using Google’s operating system and apps, Plaintiff and the Class

 9   reasonably relied on Defendant’s materially misleading statements that Plaintiff’s and the Class’

10   location would not be monitored contrary to users’ explicit wishes.

11           71.     As a result of Defendant’s materially false and misleading misrepresentations and

12   omissions, Plaintiff and the Class sustained damages as set forth herein.

13                                                  COUNT IV
14                                        Negligent Misrepresentation
15           72.     Plaintiff incorporates and realleges by reference each and every allegation above as if

16   set forth herein in full.

17           73.     Defendant and its agents, employees, and/or subsidiaries negligently and/or recklessly

18   made materially false representations to Plaintiff and the Class as alleged above.

19           74.     These material misrepresentations were contained in public statements by Defendant,
20   including in its Terms of Service.

21           75.     Defendant knew or should have known that the materially false and misleading

22   statements would induce Plaintiff and the other members of the Class to accept the operating system

23   and apps for their phones.

24           76.     In purchasing and/or using Google’s operating system and apps, Plaintiff and the Class

25   reasonably relied on Google’s materially misleading statements that their location would not be

26   monitored contrary to their explicit wishes.
27           77.     As a result of Google’s materially false and misleading misrepresentations and

28   omissions, Plaintiff and the Class sustained damage as set forth herein.

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 1                                           PRAYER FOR RELIEF
 2          WHEREFORE, Plaintiff demands judgment against Defendant as follows:

 3          A.       An order certifying that this Action may be maintained as a class action, that Plaintiff

 4   be appointed as Class Representative, and his counsel be appointed Class Counsel;

 5          B.       A judgment awarding Plaintiff and all members of the Class damages as alleged above

 6   incurred by Plaintiff and Class members as a result of Defendant’s unlawful, deceptive, and unfair

 7   business and trade practices described herein;

 8          C.       Appropriate declaratory relief against Defendant;

 9          D.       An order enjoining Defendant from continuing to violate the laws as described herein;

10          E.       Injunctive relief in the form of, inter alia, an order enjoining Defendant from continuing

11   its practice of recording and using Plaintiff’s and Class members’ location information against their

12   express preferences;

13          F.       An order requiring Google to destroy all data acquired, created, or otherwise obtained

14   from the unlawful recording and use of the location information of Plaintiff and Class members;

15          G.       An order requiring Google to modify its operating system and all applications, and

16   representations made with respect thereto, in a manner that truthfully advises users of location

17   tracking;

18          H.       For equitable relief requiring restitution and disgorgement of the revenues wrongfully

19   retained as a result of Defendant’s wrongful conduct;
20          I.       A judgment awarding Plaintiff the costs of suit, including reasonable attorneys’ fees,

21   and pre and post-judgment interest; and

22          J.       Such other and further relief as may be deemed necessary or appropriate.

23                                               JURY DEMAND
24          Plaintiff demands a trial by jury.

25   Dated: November 1, 2018                           LEVI & KORSINSKY, LLP
26                                                 By: /s/ Rosemary M. Rivas
                                                      Rosemary M. Rivas
27                                                    Rosanne L. Mah
                                                      44 Montgomery Street, Suite 650
28                                                    San Francisco, CA 94104
                                                      Telephone: (415) 373-1671
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                                                      14                              Case No. 5:18-cv-06652
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 1                                  Facsimile: (415) 484-1294

 2                                  Courtney Maccarone (to be admitted pro hac vice)
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 3                                  55 Broadway, 10th Floor
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 4                                  Telephone: (212) 363-7500
                                    Facsimile: (212) 636-7171
 5
                                    Counsel for Plaintiff George Jack
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31                       CLASS ACTION COMPLAINT
